
PER CURIAM.
The order of the Unemployment Appeals Commission disqualifying the appellant from receiving benefits is reversed. The record reflects that although appellant was in fact fired on October 15, 1997, for reasons which may or may not have formed a basis for denial of benefits, he was rehired the following day (October 16). The appellant was then fired again, on October 22, 1997, clearly without any reason that would rise to the level of misconduct as defined in section 443.036(26), Florida Statutes (1997). See Castillo v. Sally Beauty Co., Inc., 637 So.2d 269 (Fla. 3d DCA 1994).
Reversed and remanded with instructions to the Commission to award benefits without further requirements on the appellant.
